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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

                                                   )
 MICHAEL WILLIAMS,                                 )
                                                   )
                   Plaintiff,                      )
                                                   )   Case No. 24-cv-1396
           v.                                      )   JURY TRIAL DEMANDED
                                                   )
 CITY OF CHICAGO, CHICAGO POLICE                   )   Judge Lindsay C. Jenkins
 OFFICERS NICHOLAS EVANGELIDES                     )   Magistrate Judge Young B. Kim
 (#20526), DALE POTTER JR. (#21649), ,             )
 SCOTT REIFF (#20847), BRIAN RONEY                 )
 (#2241), and MARC LAPADULA (#21158).              )
                                                   )
                   Defendants,                     )
                                                   )

                THIRD AMENDED CIVIL RIGHTS COMPLAINT FOR DAMAGES

       Plaintiff MICHAEL WILLIAMS files this complaint for damages against the CITY OF

CHICAGO, as well as CHICAGO POLICE DEPARTMENT OFFICERS NICHOLAS

EVANGELIDES (#20526), DALE POTTER JR. (#21649), SCOTT REIFF (#20847), BRIAN

RONEY (#2241), and MARC LAPADULA (#21158) in their individual capacities, and allege as

follows:

                                        INTRODUCTION

                  Plaintiff Michael Williams spent 11 months in the Cook County Jail because CPD

officers falsely accused him of murder.

                  Mr. Williams seeks damages for the 11 months that were robbed from him and

the physical, medical, and emotional harms that he suffered while jailed on false charges.
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                                 JURISDICTION AND VENUE

               This Court has jurisdiction over Plaintiff’s federal claims for damages and

injunctive relief pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343. The Court has jurisdiction

over Plaintiff’s state-law claims pursuant to 28 U.S.C. § 1367 because they arise out of the same

facts and form part of the same case as the federal claims.

               Venue is proper in the United States District Court for the Northern District of

Illinois under 28 U.S.C. § 1391(b) because a substantial portion of the events giving rise to the

Plaintiff’s claims occurred in this district. Venue is also proper under 28 U.S.C. § 1391(a)

because one or more Defendants reside in this District and, on information and belief, all

Defendants are residents of the State in which the District is located.

                                             PARTIES

Plaintiff

               Plaintiff MICHAEL WILLIAMS is a 67-year-old grandfather and resident of the

South Shore neighborhood in Chicago. Mr. Williams was falsely accused of first-degree murder.

He remained incarcerated in the Cook County Jail for 11 months until July 23, 2021, when the

Cook County State’s Attorney’s Office dismissed the charges against him after conceding that it

could not use ShotSpotter evidence against him and that it “ha[d] insufficient evidence to

proceed with the prosecution.”

               Individual Plaintiff Michael Williams seeks compensatory and punitive damages

as a result of the Defendants’ misconduct.

Municipal Defendant

               Defendant CITY OF CHICAGO (“City”) is and at all times mentioned herein was

a municipality organized and operating under the statutes of the State of Illinois. It is authorized

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under the statutes of the State of Illinois to maintain the CHICAGO POLICE DEPARTMENT,

which acts as the City’s agent in the areas of municipal law enforcement, and for which the City

is ultimately responsible. Defendant City was, at all times material to this Complaint, the

employer and principal of the individual Defendant Officers.

Williams Defendant Officers

               Defendants Detective NICHOLAS EVANGELIDES (#20526), Detective DALE

POTTER JR. (#21649), Detective SCOTT REIFF (#20847), Sergeant BRIAN RONEY (#2241),

Detective MARC LAPADULA (#21158), are City of Chicago employees with the CPD. At all

times relevant to the events at issue in this case, these defendants were acting under color of law

and within the scope of their employment with the CPD. Each one of them participated in the

investigation of Mr. Williams’ case and contributed to his arrest and detention on false charges

of murder. Each one is sued in his or her individual capacity for violating the rights of Mr.

Williams under the Constitution and Illinois law.

                                  FACTUAL ALLEGATIONS

The Events of May 31, 2020

               Plaintiff Michael Williams was falsely arrested for murder and spent nearly a year

in the Cook County Jail.

               The evening of May 31, 2020 was a turbulent one in Chicago. Six days earlier,

police officers in Minneapolis had murdered George Floyd. Video of his murder had spurred

uprisings nationwide, including in Chicago.

               That night, Mr. Williams and his wife had gone to a relative’s house for dinner.

After returning home to his apartment in the South Shore neighborhood, Mr. Williams went out

for a drive. He intended to buy cigarettes at a gas station near East 76th Street and S. South

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Chicago Ave. He found that the gas station had been broken into. Mr. Williams turned his car

around, heading east back in the direction of his home.

               Mr. Williams was not armed, nor does he own a gun.

               On his way east, around 11:40 p.m. or thereabouts, Mr. Williams passed the

parking lot of an AutoZone located near E. 76th Street and S. Stony Island Avenue. Mr.

Williams was driving with his front window down because he did not feel particularly well and

needed the fresh air. A young man in the AutoZone parking lot waved down Mr. Williams and

asked him for a lift to where he was staying, about 15 blocks north in the Woodlawn

neighborhood. Mr. Williams obliged.

               It was not unusual when Mr. Williams agreed to give the young man a lift home

that night.

               Mr. Williams is a 65-year-old man with three children and multiple

grandchildren. While he and his fiancée are of modest means, they are generous and community-

minded. They frequently donate bags of groceries to needy people in the neighborhood and take

people into their home to provide meals. They also regularly pick people up off the streets to

give them rides when they need it.

               Mr. Williams did not know who the young man was. He believed he recognized

him from seeing him around the neighborhood but had never spoken to him and did not know

anything about him.

               Mr. Williams left the AutoZone parking lot, heading northbound to take the

young man home. Mr. Williams’ front window remained down.




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               A few minutes later, they were continuing north along S. Stony Island Ave, and

stopped at a red light at 63rd Street. Without warning, a bullet came through the open car

window.

               Mr. Williams slumped down in his seat, terrified that he might be struck by

gunfire.

               Mr. Williams hollered at his passenger, asking if he was alright. Mr. Williams

soon realized that his passenger had been shot. Mr. Williams hit the gas to race away from

danger.

               Mr. Williams did not see where the fatal gunshot came from, but he did perceive

that there was a vehicle in the next lane, immediately to his left, when the shot was fired.

               Terrified that there could be more gunshots, Mr. Williams sped through the

intersection at E. 63rd Street, still heading northbound. Soon thereafter, he pulled a U-turn, intent

on getting his passenger to the nearest hospital he could think of.

               Mr. Williams pulled up to the St. Bernard Hospital emergency room to get help

for his passenger. Hospital staff received the wounded young man. Mr. Williams left his parked

car and walked into the lobby of the hospital.

               Mr. Williams attempted to speak with hospital staff. A hospital staff member told

him that he could not stay because he was not next-of-kin and COVID protocols prohibited

visitors. He provided his name and information to a hospital security guard before leaving.

               The wounded young man died from the gunshot wound approximately two days

after he was shot.

               The events of that evening were extremely traumatic for Mr. Williams. The

shooting had put him in mortal fear for his own life. He was distraught about his passenger.

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Because of the trauma of that evening, he avoided driving his car thereafter, for fear that he

might be targeted again by the people who had shot into his car. He left the car parked on the

street outside his apartment, where police soon found it and towed it for processing and

investigation.

The Police Investigation

                 On June 1, 2020, hours after the young man was received in the hospital, CPD

detectives began an initial investigation, interviewing potential witnesses, requesting video

footage, and taking other investigative steps.

                 Defendant Sergeant Brian Roney (#2241) assigned follow-up on the shooting

investigation to Defendant Detective Nicholas Evangelides (#20526).

                 Over course of the subsequent days, Defendants Evangelides, and other CPD

officers interviewed various members of the victim’s family. They also conducted interviews of

the victim’s girlfriend and other friends or acquaintances who had been with the victim earlier in

the evening.

                 Police learned that the victim had apparently borrowed another person’s cellphone

to try to call for a ride home. His mother told police that she had received a call from that

number at 11:25 p.m. but that she did not answer the call.

                 Defendant Detective Dale Potter Jr. (#21649) obtained several search warrants to

search the victim’s Facebook account as well as the cell phone records of the phone that he had

apparently used to call for a ride.

                 Nothing in any of these interviews, cell phone records, Facebook records, or other

investigative steps suggested any link at all to Mr. Williams. The evidence regarding the victim’s

phone call suggest that he did indeed need a ride home, which Mr. Williams tried to provide.

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                The Williams Defendant Officers failed to conduct obvious investigative inquiries

into the victim’s shooting death, including that he might have been intentionally targeted. They

learned, for example, that the victim’s mother had information that the victim may have been

intentionally “set up” to be killed. The Williams Defendant Officers did not pursue this lead.

Moreover, upon information and belief, had the Williams Defendant Officers conducted a good

faith investigation, they would have learned that the victim had survived an assault at a bus stop

two weeks earlier and was staying with a relative for his personal safety. The Williams

Defendant Officers reported no follow-up of this.

                Instead, the Williams Defendant Officers worked together to charge and prosecute

Mr. Williams, without cause, based on shoddy ShotSpotter evidence.

                On June 4, 2020, Scott Brownley of the Area One Technology Center gave

Defendants Evangelides and Roney a copy of ShotSpotter Investigative Lead Summary, Incident

Report No. 778-13539 (the “ShotSpotter Report” or “Initial ShotSpotter Report”). The

ShotSpotter Report purported to identify a single gunshot at 11:46 p.m. near the intersection of

E. 63rd Street and S. Stony Island Avenue.

                The ShotSpotter Report included a map with a pin located in the northbound lane

of S. Stony Island Avenue. It also included a large round circle that encompassed much of the

intersection and surrounding area, reflecting the 82-foot margin of error that ShotSpotter

provides for its alerts.

                Ignoring the fact that the report suggested the shot may have occurred anywhere

within an 82-foot radius, the Williams Defendant Officers instead fixated on the precise location

of the pin on the ShotSpotter Report as the place where the fatal shot was fired. In a detailed

Case Supplementary Report recounting the entire investigation, Defendant Evangelides falsely

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wrote that “Shot Spotter technology pinpointed the gunshot’s exact location and determined the

fired shot’s origin was in the northbound lane of Stony Island just south of 63rd Street.” The

Defendant Officers repeated this false claim throughout their investigation of Mr. Williams in

reports and interviews.

               The Williams Defendant Officers relied on this false evidence to charge Mr.

Williams with the crime. They did so knowing that the ShotSpotter report did not and could not

“pinpoint[] the gunshot’s exact location.”

               The Initial ShotSpotter Report that the Williams Defendant Officers relied on

itself warns repeatedly that it should not be relied upon in this way. It states that “locations were

automatically calculated by the ShotSpotter system at the time of detection. They are

approximate and should be deemed as such.” The same document provides an explicit

“Disclaimer” that “this summary should only be used for initial investigative purposes because

the shot timing, location, and count could differ once reviewed by a ShotSpotter Forensic

Engineer.” The Disclaimer further warns that a “weapon discharge in an enclosed space” may

affect the ability of sensors to properly detect gunshots. The Disclaimer concludes by warning

that “the data and conclusions herein should be corroborated with other evidentiary sources such

as recovered shell casings and witness statements.”

               The Williams Defendant Officers intentionally disregarded each of these

warnings in their investigation of the shooting, claiming that the Initial ShotSpotter Report could

pinpoint the “exact location” of the supposed gunshots.

               The Williams Defendant Officers also ignored the fact that ShotSpotter’s

materials explicitly state that its initial reports only provide the location of supposed gunshots

within an 82-foot radius. The Initial ShotSpotter Report that the Williams Defendant Officers

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relied on itself showed a large circle on the map clearly showing the margin of error around the

pin on the map.

               The Williams Defendant Officers also disregarded an obvious error in the Initial

ShotSpotter Report. That report listed the street address of the supposed gunshot at 5700 S. Lake

Shore Drive, more than one mile away from the dot on the map and GPS coordinates in the

report. The Williams Defendant Officers should have known from this error that ShotSpotter

locations are not “exact.”

               On information and belief, the Williams Defendant Officers also knew the

ShotSpotter location was inaccurate from their past experience investigating ShotSpotter alerts,

in which they learned that the dot on the map is not an exact location for gunfire.

               Yet, the Williams Defendant Officers ignored multiple red flags in the Report,

ShotSpotter’s own warnings, and their past investigative experience in order to pursue a false

murder case against Mr. Williams.

               The Williams Defendant Officers, now focused on the dot on the map in the

ShotSpotter Report as the location of the shot, pulled surveillance video footage near the time

and place of the ShotSpotter alert. No video shows the shooting. One video shows the

intersection adjacent to the ShotSpotter alert but does not encompass the specific location of the

pin on the ShotSpotter report.

               That video shows there was a black sedan that appears to be a Dodge Charger in

the left-turn lane immediately adjacent to where Mr. Williams’ vehicle was stopped (off camera

but with the light from its headlights visible on the pavement) around the time when the

ShotSpotter alert registered a supposed gunshot. The video shows the black Charger creeping

forward past Mr. Williams’ car into the crosswalk and stopping briefly before suddenly speeding

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away to make a left turn through a red light. Moments later, Mr. Williams’ car comes into view,

accelerating straight through the intersection.

               The Williams Defendant Officers proceeded to seize Mr. Williams’ car, but they

made no effort to talk to him or to track down the black sedan at the scene of the shooting. The

Williams Defendant Officers had multiple tools at their disposal that they could use to try to

track down the black sedan, but they made no effort to use any of those tools. They made no

effort to track down the black sedan because they were not interested in learning the facts of the

shooting. They wanted to close the case on Mr. Williams instead.

               Nothing in the video or any other evidence ruled out the black sedan as the source

of the fatal gunshot.

               Neither the ShotSpotter Report nor the video footage demonstrated that the shot

was fired from inside Mr. Williams’ car. Neither was sufficient to supply probable cause of that

theory of the crime.

               The Williams Defendant Officers either failed to request or requested and then

suppressed a ShotSpotter “Detailed Forensic Report,” which is a post-processing analysis from

ShotSpotter engineers. The Detailed Forensic Report for the ShotSpotter alert at issue in this case

puts the gunshot closer to the black sedan in the left turn lane, supporting Mr. Williams’ account

that the fatal shots were fired from the black sedan.

               The Williams Defendant Officers also intentionally ignored evidence that

contradicted their theory of the case––for example, that there was no evidence of close-range

gunfire on the body. The Williams Defendant Officers also ignored and suppressed evidence

pointing to an alternate suspect––for example, evidence that a 2019 black Dodge Charger was

carjacked by two armed gunmen at 6600 S. Stony Island (just three blocks away from the

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shooting) approximately 40 minutes prior to the shooting. The carjacked 2019 black Dodge

Charger was set on fire and abandoned near 72nd and Jeffery Streets within one hour after the

shooting.

               On August 28, 2020, nearly three full months after the shooting, the Williams

Defendant Officers decided to talk to Mr. Williams. They sent other CPD officers to Mr.

Williams’ home and asked him to come to the police station for questioning. They told him he

was not under arrest and that police just wanted to ask him questions.

               The CPD officers took Mr. Williams to the police station at 51st and Wentworth

Avenue where Detectives Evangelides, Potter, and Reiff proceeded to interrogate Mr. Williams.

               During the interrogation, Defendants Evangelides, Potter, and Reiff lied to Mr.

Williams repeatedly, claiming to have evidence of Mr. Williams’ guilt that they did not have.

They also ignored Mr. Williams’ claims of innocence and attempted to manufacture probable

cause by trying to manipulate him into making inculpatory statements.

               Despite no physical evidence implicating him in the crime, the Williams

Defendant Officers arrested Mr. Williams on the evening on August 28, 2020 and requested that

Cook County prosecutors approve murder charges against Mr. Williams.

               Mr. Williams was held in police lockup for two nights before he saw a judge.

               On August 30, 2020, Cook County prosecutors approved the Williams Defendant

Officers’ request for murder charges. On information and belief, prosecutors’ decision to

approve murder charges against Mr. Williams was based on false, incomplete, and/or misleading

information that the Williams Defendant Officers supplied to them.

               The formal Probable Cause Statement for Judicial Determination, signed by

Defendant Potter at 11:40 a.m. on August 30, 2020, also provided false information.

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               Most significantly, the Probable Cause Statement asserted that “[t]he investigation

revealed that the gunshot had come from within the vehicle.” This assertion was false. There was

no evidence that the gunshot had come from within the vehicle.

               The Defendant Officers never identified any motive for the crime. They never

identified any prior connection between Mr. Williams and the victim. They never recovered any

weapon or physical evidence whatsoever to support the charges. They never identified any

eyewitnesses or circumstantial witnesses to support their charges. They had no video evidence

establishing that the fatal gunshot was fired from inside Mr. Williams’ vehicle. They ignored

evidence tending to show that the gunshot could not have come from inside the car.

               The Defendant Officers engaged in tunnel vision to target Mr. Williams, arresting

him for first-degree murder, without probable cause. As a result, they never identified the true

perpetrator of the murder.

               On August 29, 2020, the Defendant Officers asked Cook County prosecutors to

approve first degree murder charges against Mr. Williams.

               On information and belief, Defendant Officers concealed, suppressed, or

otherwise failed to provide exculpatory information to prosecutors, including information

pointing to specific alternative suspects that Defendant Officers had failed to investigate because

of their single-minded and bad faith effort to procure charges against Mr. Williams.

               On information and belief, the Defendant Officers provided false, incomplete,

and/or misleading information to prosecutors.

               Prosecutors approved charges and conducted the grand jury proceedings against

Mr. Williams in reliance on the bad faith investigation conducted by the Defendant Officers,



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false and misleading information provided by Defendant Officers, and without exculpatory

information concealed, suppressed, or otherwise not provided by the Defendant Officers.

Court Proceedings and the Ultimate Dismissal of Charges

                On August 30, 2020, Defendant Evangelides signed a sworn felony complaint

against Mr. Williams, stating that Mr. Williams committed first degree murder by shooting

Safarian Herring without lawful justification.

                On August 30, 2020, Mr. Williams had his first court appearance for a probable

cause hearing. Defendant Officer Potter presented his false Probable Cause Statement to the

Court at the hearing. Defendant Potter also made misleading statements to the Court to imply

Mr. Williams’ guilt and to further advance investigators’ false assertion that the evidence showed

that the shot was fired inside Mr. Williams vehicle.

                On the basis of Defendant Officer Potter’s false Probable Cause Statement and

misleading testimony, the judge determined that there was probable cause against Mr. Williams.

                On September 22, 2020, the Grand Jury issued an indictment against Mr.

Williams for first-degree murder. The only witness listed on the Indictment was Defendant

Officer Evangelides, who also presented false and misleading testimony.

                Mr. Williams was eventually assigned counsel from the Cook County Public

Defender Office. His attorneys mounted a vigorous defense and issued numerous subpoenas

seeking to interrogate the reliability and admissibility of the ShotSpotter evidence that was

central to the State’s case.

                On April 22, 2021, Mr. Williams’ defense attorneys filed a Motion to Exclude

ShotSpotter Evidence Pursuant to Frye and Rule 403. The motion sought an evidentiary hearing



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to ascertain, for the first time, the reliability of ShotSpotter evidence in Cook County and

whether it should be excluded under Frye standards.

               As a result of Mr. Williams’ motion, the State’s Attorney’s Office realized that

the ShotSpotter provided no evidence of Mr. Williams’ guilt. On June 11, 2021, the State’s

Attorney Office chose to withdraw the ShotSpotter evidence, rendering moot the challenge to

ShotSpotter’s reliability. Mr. Williams’ counsel informed the Court that he would be seeking

dismissal because ShotSpotter was central to the finding of probable cause and had been

presented to the Grand Jury.

               At the next court date, on July 23, 2021, the Assistant State’s Attorney moved to

dismiss the charges. He reiterated the prior decision “not [to] use ShotSpotter evidence in this

particular case.” He then explained, “We have since conducted a thorough reevaluation of the

evidence in this case. All the video that was collected by the Chicago Police Department,

statements taken, circumstantial evidence, we requested some additional forensic testing during

our analysis, and after that review, Judge, it was our determination that we have insufficient

evidence to proceed with the prosecution of Mr. Williams.”

               The Assistant State’s Attorney moved for dismissal of the charges, nolle prosequi.

The Court granted the motion.

               The Assistant State’s Attorney also confirmed, in response to questions from the

Court, “that ShotSpotter evidence was used before the Grand Jury in getting the indictment.”

               Mr. Williams was released from the Cook County Jail on the evening of July 23,

2021, nearly 11 months after his unlawful arrest.




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The City’s ShotSpotter Policies and Customs

               The City has adopted and maintained express policies and widespread practices

concerning ShotSpotter—as well as explicit decisions of officials with final policymaking

authority—that lead systematically to illegal searches and seizures.

               The City’s ShotSpotter Flex Program policy conveys to officers, including the

Defendant Officers, a false sense of ShotSpotter’s precision, directing them to investigate “the

precise location” provided by ShotSpotter, as well as the area surrounding the “precise location

given by ShotSpotter information.” The City has failed to train the Defendant Officers about the

inaccuracy of the locations provided by ShotSpotter alerts, and the fact that all locations

provided by ShotSpotter are at best approximations.

               The City’s practice, policies, and training affirmatively mislead officers about the

accuracy and precision of ShotSpotter alerts. The City failed to train the Defendant Officers in

this regard.

               The City’s practice, policies, and training fail to inform officers that the locations

provided by ShotSpotter are not exact but at best approximate. The City failed to train the

Defendant Officers in this regard. The City’s practice, policies, and training fail to provide

proper guidance about whether or when ShotSpotter alerts may justify a search or seizure. The

City failed to train the Defendant Officers in this regard.

               The City’s express policy requires officers to rely on ShotSpotter alerts when

investigating any type of shooting incident and to rely on ShotSpotter reports for investigation

and prosecution purposes.

               The City, by express policy and practice and through its decisionmakers, has

failed to test the ShotSpotter system to determine the accuracy of its location determinations.

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                 The City knows that the system has never been tested in Chicago or elsewhere to

assess its reliability.

                 The City knows about the lack of studies and testing because they have been

confronted about it directly in City Council, the Public Safety Committee, and other forums;

because it has been widely publicized in national news reports; and because they have

themselves declined to permit or conduct deployment qualification testing—or any other

testing—of the system in Chicago.

                 The City knows, based on public testimony in City Council and the experience of

its own employees, that Cook County prosecutors drop cases involving ShotSpotter evidence and

avoid defending the system’s reliability in court when it is challenged in criminal cases.

                 Brandon Johnson, the current Mayor of the City of Chicago, has personal

knowledge of the harms and legal violations that the City’s use of ShotSpotter causes.

                               PLAINTIFF WILLIAMS’ CLAIMS

                                    COUNT I – 42 U.S.C. § 1983
                       Violation of the Fourth and Fourteenth Amendment
                                 Arrest Without Probable Cause
                     (Plaintiff Williams against Williams Defendant Officers)

                 Each paragraph of this Complaint is incorporated as if restated fully herein.

                 Count I is alleged against the Williams Defendant Officers.

                 The actions by Williams Defendants Officers in falsely detaining, arresting, and

imprisoning Plaintiff Williams without probable cause violated Plaintiff Williams’ clearly-

established Fourth Amendment rights to be free from unreasonable search and seizure.




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                The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally with malice and knowing disregard for Plaintiff’s clearly established

constitutional rights.

                The actions of the Williams Defendant Officers were the direct and proximate

cause of the violations of Plaintiff’s Fourth Amendment rights leading to loss of liberty, pain,

suffering, mental distress, anguish, humiliation, degradation, and medical injury.

                                  COUNT II – 42 U.S.C. § 1983
                      Violation of the Fourth and Fourteenth Amendment
                        Unreasonable Seizure Pursuant to Legal Process
                    (Plaintiff Williams against Williams Defendant Officers)

                Each paragraph of this Complaint is incorporated as if restated fully herein.

                Count II is alleged against the Williams Defendant Officers.

                The actions by the Williams Defendant Officers in falsely arresting and

imprisoning Plaintiff Williams for nearly 11 months pursuant to legal process—including a

probable cause hearing and grand jury indictment—were without probable cause. This violated

Plaintiff Williams’ Fourth Amendment rights to be free from unreasonable search and seizure.

                The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally with malice and knowing disregard for Plaintiff’s clearly established

constitutional rights.

                Plaintiff waited until the criminal charges on which Mr. Williams were held were

terminated in his favor before bringing this civil action. The prosecution moved to dismiss

charges before trial because it determined that it lacked evidence sufficient to prosecute the case.

                The actions of the Williams Defendant Officers were the direct and proximate

cause of the violations of Plaintiff’s Fourth Amendment right to be free from unreasonable


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search and seizure pursuant to legal process. Their actions were the direct and proximate cause of

Plaintiff’s loss of liberty for nearly 11 months, as well as pain, suffering, mental distress,

anguish, degradation, humiliation, loss of liberty, and medical injury.

                               COUNT III – 42 U.S.C. § 1983
                 Conspiracy to Deprive Plaintiff of His Constitutional Rights
                  (Plaintiff Williams against Williams Defendant Officers)

                Each paragraph of this Complaint is incorporated as if restated fully herein.

                Count III is alleged against the Williams Defendant Officers.

                Each of the Williams Defendants Officers, acting in concert with one another as

well as other known and unknown co-conspirators, conspired by concerted action to accomplish

an unlawful purpose by unlawful means.

                Each of the Williams Defendant Officers took concrete steps to enter into an

agreement to unlawfully arrest and charge Plaintiff Williams, knowing they lacked probable

cause to do so, and for the purpose of violating Plaintiff’s Fourth and Fourteenth Amendment

rights.

                In furtherance of this conspiracy, each of the Defendants committed specific overt

acts, misusing their police powers for the purpose of violating Plaintiff’s rights. They

accomplished this goal by effecting the Plaintiff’s arrest without probable cause and filing

wrongful charges based on the false arrest, which resulted in Plaintiff’s indictment and unlawful

imprisonment.

                Each individual Defendant is therefore liable for the violation of Plaintiff’s rights

by any other individual Defendant.




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                As a direct and proximate result of the William Defendant Officers’ conspiracy,

Plaintiff suffered loss of liberty for nearly 11 months, as well as pain, suffering, mental distress,

anguish, degradation, humiliation, loss of liberty, and medical injury.

                                  COUNT IV – 42 U.S.C. § 1983
                                       Failure to Intervene
                    (Plaintiff Williams against Williams Defendant Officers)

                Each paragraph of this Complaint is incorporated as if restated fully herein.

                Count IV is alleged against the Williams Defendant Officers.

                In the manner described above, during the constitutional violations described herein,

one or more of the Williams Defendant Officers stood by without intervening to prevent the violation

of Plaintiff Williams’ constitutional rights, even though they had the duty and reasonable opportunity

to do so.

                The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally with willful indifference to the truth and Mr. Williams’ constitutional rights.

                As a result of Defendants’ misconduct described in this count, Mr. Williams suffered

severe injuries, including the extended loss of his liberty, physical harm, emotional distress, and

mental humiliation and anguish.

                                  COUNT V – State Law Claim
                                      Malicious Prosecution
                    (Plaintiff Williams against Williams Defendant Officers)

                Each preceding paragraph of this Complaint is incorporated as if restated fully

herein.

                Count V is alleged against the Williams Defendant Officers.

                In the manner described more fully above, the Williams Defendants Officers

commenced or continued criminal charges against Mr. Williams without probable cause.


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                Among other acts and omissions, Williams Defendant Officers ignored

exculpatory evidence that exonerated Mr. Williams. They misled the Court and prosecution with

respect to the evidence, including video evidence and Mr. Williams’ statements under

interrogation. They failed to take basic steps to investigate the crime and failed to pursue other

obvious lines of inquiry. Defendants thus caused the proceedings against Michael Williams to be

initiated wrongfully and maliciously.

                 In doing so, the Williams Defendant Officers caused Plaintiff to wrongfully be

subjected to judicial proceedings without probable cause.

                These judicial proceedings were instituted and continued maliciously, resulting in

injury to Plaintiff.

                In July 2021, Plaintiff’s criminal prosecution was terminated in his favor upon the

prosecution’s motion to dismiss charges before any trial, without any conviction, based on its

determination that the evidence did not support charges against Plaintiff.

                The Williams Defendant Officers’ actions were willful and wanton, taken under

color of law and within the scope of their employment.

                As a direct and proximate result of the Williams Defendant officers’ misconduct

described in this Count, Plaintiff suffered loss of liberty for nearly 11 months, as well as pain,

suffering, mental distress, anguish, degradation, humiliation, loss of liberty, and medical injury.

                                    COUNT VI – State Law Claim
                                           Civil Conspiracy
                       (Plaintiff Williams against Williams Defendant Officers)

                Each paragraph of this Complaint is incorporated as if restated fully herein.

                Count VI is alleged against the Williams Defendant Officers.



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               The individual Defendant Officers, acting in concert with other known and

unknown co-conspirators, conspired by concerted action to accomplish an unlawful purpose by

unlawful means.

               Each of the Williams Defendant Officers took concrete steps to enter into an

agreement to unlawfully use force on, detain, and arrest the Plaintiff Williams, knowing they

lacked probable cause to do so and for the purpose of violating Plaintiff Williams’ rights.

               The Williams Defendant Officers committed unlawful overt acts and were

otherwise willful participants in joint activity in furtherance of this conspiracy.

               The Williams Defendant Officers acted with malice, willfulness, and reckless

indifference to the rights of others.

               Each Williams Defendant is therefore liable for the violation of Plaintiffs’ rights

by any other individual Defendant.

               As a direct and proximate result of the Defendants’ conspiracy, Plaintiffs suffered

damages, including severe emotional distress and anguish, as a proximate result of the individual

Defendants’ misconduct and conspiracy to engage in misconduct.

                                 COUNT VII – State Law Claim
                                       Respondeat Superior
                           (Plaintiff Williams against City of Chicago)

               Each paragraph of this Complaint is incorporated as if restated fully herein.

               Count VII is alleged against the City of Chicago.

               In committing the acts alleged in this Complaint, each of the individual Defendant

Officers were members of, and agents of, the CPD, acting at all relevant times within the scope

of their employment.



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               Defendant City of Chicago is liable as principal for all torts in violation of state

law committed by its agents.

                                COUNT VIII – Indemnification
                          (Plaintiff Williams against City of Chicago)

               Each paragraph of this Complaint is incorporated as if restated fully herein.

               Count VIII is alleged against the City of Chicago.

               In Illinois, pursuant to 745 ILCS 10/9-102, public entities are directed to pay any

tort judgment for compensatory damages for which employees are liable within the scope of their

employment activities.

               Each of the individual Williams Defendant Officers acted within the scope of

their employment in committing the misconduct described herein. Therefore, Defendant City of

Chicago is liable as their employer for any resulting damages or award of attorney’s fees.

                              COUNT IX – 42 U.S.C. § 1983
   Monell Liability for Damages - Violation of the Fourth and Fourteenth Amendments
                  (Plaintiff Williams against Defendant City of Chicago)

               Each paragraph of the Complaint is restated as if fully incorporated herein.

               Count IX is alleged against Defendant City of Chicago.

               The actions of the Williams Defendant Officers were undertaken pursuant to the

policies and practices of the CPD, described above and below, which included (1) failing to

supervise, train, CPD officers with respect to the proper use of ShotSpotter in criminal

investigations; (2) failure to supervise, train, or provide proper guidance or policy with respect to

the use of ShotSpotter investigative lead summaries in the course of a criminal investigation; (3)

failure to supervise, train, or provide proper guidance or policy with respect to the accuracy,

precision, or reliability of the location information provided by ShotSpotter; and (4) enacting and


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maintaining policies and practices directing CPD officers to regard ShotSpotter alerts as

providing the “precise location” of a gunshot.

               These policies and practices were adopted, encouraged, and maintained by the

City and ratified by decisionmakers with final policymaking authority.

               The City maintained and implemented these policies, practices, decisions, and

failures of training and supervision with deliberate indifference. The City’s final policy makers

were subjectively aware knew that failing to train and supervise its officers about ShotSpotter

would result in them misusing the technology to the detriment of those suspected of crimes, but

they allowed officers to use ShotSpotter technology without proper training and supervision

anyway.

               As a result of the City’s policies, practices, decisions, and failures to train and

supervise, the Williams Defendant Officers misused ShotSpotter evidence to initiate criminal

proceedings against Mr. Williams despite the fact that it did not show his guilt.

               The City’s failure to train the Williams Defendant Officers, as well as its policies,

practices, and decisions, were a direct and proximate cause (i.e. a moving force) of the

unconstitutional arrest, prosecution, and detention of Mr. Williams on false charges of First

Degree Murder.

               As a direct and proximate result of the City’s policies, practices, and failure to

train, Plaintiff Williams suffered damages, suffered loss of liberty for nearly 11 months, as well

as pain, suffering, mental distress, anguish, degradation, humiliation, loss of liberty, and medical

injury.




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                                   REQUEST FOR RELIEF

Wherefore, Plaintiff requests that this Court enter judgement against Defendants and award

Plaintiff compensatory damages, punitive damages, attorneys fees and costs and any other relief

the Court deems just and proper.

                                         Jury Demand

       Plaintiff demands a jury trial.



Dated: March 15, 2024                           Respectfully submitted,

                                                /s/Jonathan Manes
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                                    Certificate of Service

       I, Jonathan Manes, an attorney hereby certify that I served a copy of this amended
pleading on all counsel of record on March 15, 2024, by operation of the Court’s CM/ECF
system.

                                                   /s/Jonathan Manes
                                                   Jonathan Manes




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